
HUGHES, J., would grant.
CRICHTON, J., would grant in part for the reasons assigned by Justice Genovese.
GENOVESE, J., would grant in part and assigns reasons
GENOVESE, Justice, would grant in part and assigns reasons.
I would grant the defendant's writ in part, as I find that the Trial Court's denial *765of the defendant's request to call more than one witness at his bond reduction hearing impinged upon his constitutional right to present a defense and his ability to advance his arguments regarding the considerations for fixing the amount of his bail pursuant to La. C.Cr.P. art. 316. See La. C.Cr.P. art. 731. In all other aspects, I agree with this Court's denial of the writ.
